                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,                                  )
                                                           )
               Plaintiff,                                  )
     vs.                                                   )
DENNIS CLEVELAND                                           ) Case No. 23-03024-01-CR-S-SRB
                                                           )
               Defendant.                                  )


                                 ORDER TO SHOW CAUSE


       For good cause and upon the recommendation of the United States Probation Office, it is

ORDERED that:


       1) Dennis Cleveland shall appear before this court at 1:00 p.m. on July 15, 2025, in
Courtroom No. 2, 222 N. John Q. Hammons Parkway, Suite 1200, Springfield, Missouri, to
show cause why the supervised release previously imposed should not be revoked for violating
the conditions of supervised release; and

       2) the United States Probation Office is directed to serve a copy of this Order to Show

Cause to 1307 North Johnston Avenue, Springfield, MO 65802.




                                                                /s/ Stephen R. Bough
                                                              STEPHEN R. BOUGH
                                                              U.S. DISTRICT JUDGE


Dated at Kansas City, Missouri, this        8th             day of April               , 2025.




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